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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


WORLD WRESTLING
ENTERTAINMENT, INC.,                                Civil Action No.:    3:22-cv-00703

              Plaintiff,

        vs.                                         RULE 7.1 CORPORATE DISCLOSURE
                                                    STATEMENT
JOHN AND JANE DOES 1-100,
and XYZ CORPORATIONS 1-100,

              Defendants.


         Pursuant to Fed. R. Civ. P. 7.1 and to enable Judges and Magistrate Judges to evaluate a

possible disqualification or recusal, the undersigned attorneys for World Wrestling Entertainment,

Inc. (“WWE”) in the above-captioned action state that WWE is a publicly traded corporation and

that WWE has no parent corporations and has no publicly held companies owning ten percent or

more of WWE stock.




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Dated: March 25, 2022      Respectfully submitted,

                           /s/ Darlene F. Ghavimi
                           Darlene F. Ghavimi
                           Trial Counsel
                           TX Bar No. 24072114
                           E-mail: darlene.ghavimi@klgates.com
                           K&L GATES LLP
                           2801 Via Fortuna, Suite 350
                           Austin, Texas 78746
                           Telephone: (512) 482-6800

                           Artoush Varshosaz
                           TX Bar No. 24066234
                           K&L GATES LLP
                           Artoush.Varshosaz@klgates.com
                           1717 Main Street, Suite 2800
                           Dallas, Texas 75201
                           214.939.5500

                           Jerry S. McDevitt (pro hac vice motion to be filed)
                           Curtis B. Krasik (pro hac vice motion to be filed)
                           Christopher M. Verdini (pro hac vice motion to be filed)
                           K&L GATES LLP
                           K&L Gates Center
                           210 Sixth Ave.
                           Pittsburgh, Pennsylvania 15222
                           Telephone: (412) 355-6500

                           Attorneys for Plaintiff, World Wrestling Entertainment, Inc.




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